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                         IN THE UNITED STA TES DISTRICT COURT

                               FOR THE DISTRICT OF OREGON

                                      MEDFORD DIVISION



HARTLY BUCHANAN.
                                                                        Civ. No. 1:17-cv-00640-CL
                       Plaintiff
                                                                       ORDER OF DISMISSAL
               V.

CHASE BANK USA, N.A.,

                       Defendant.

CLARKE, Magistrate Judge.

       On December 4, 2017, the Court granted a motion filed by Plaintiff Counsel to withdrav.

from representation of Plaintiff in this case, contingent upon two conditions. First, the Court

required counsel to advise the Court in writing of Plaintiffs current contact information.

Second, the Court required counsel to advise Plaintiff of the withdrawal, and inform Plaintiff of

the obligation to retain new counsel, or file written notice with the Court of her intention to

proceed with the case as a self-represented, or prose, litigant no later than January 4, 2018. The

Court indicated that Plaintiff could request additional time, in writing, if necessary. However, to

date. the Court has had no contact from Plaintiff.

       Plaintiff was therefore ORDERED on January 18, 2018, to show good cause in writing

by February 20, 2018, for why this case should not be dismissed for failure to prosecute. The

Court indicated that failure to respond could result in dismissal of this action. To date the Com1




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has not received any form of communication from Plaintiff, and she has not responded to the

Court's Order to Show Cause. Therefore this cause of action is dismissed without prejudice. All

dates will be terminated. and the case will be administratively closed.




                       ORDERED and DATED this        _7___         day       ~JMarch, 2018.
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                                         ./M'KD:Cr.ARKE
                                              United States Magistrate Judge




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